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UN"ITED STATES DISTRICT COURT
FOR THE DIS'I`RICT OF MARYLAND
Northern Division
AUDREY WILSON *

Plaintiff, *

'X-

V. Civil Action No. CCB-02CV3341
ST. AGNES HEALTHCARE, INC. ET AL. *
Defendants. *

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DEFENDANT’S MOTION FOR SANCTIONS

Defendant St. Agnes HealthCare, by and through its undersigned counsel, files this
Motion for Sanctions in accordance With Rule 37 of the Federal Rules of Civil Procedure.
Defendant states that the reasons for this Motion are as follows:

l. Plaintiff’s Notice of Deposition Was served on February 11, 2003;

2. That Notice identified the date for Plaintist deposition as March ll, 2003, at

10:00 a.m. in Defendant’s counsel’s law offices;

3. On March l l, 2003, neither Plaintift` nor her counsel appeared for the deposition

nor did the Plaintiff er her counsel notify or communicate in any Way with
Defendant’s counsel as to Why Plaintiff failed to appear for her duly noted

deposition; and

4. At approximately l 1:2() a.m. Defendant’s counsel adjourned the deposition of the

Plaintiff.

 

 

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For all of the foregoing reasons, as well as those set forth in more detail in the attached

Memorandum, Defendant respectfully requests that its Motion for Sanctions be granted and that

Plaintiff be directed to pay all reasonable costs, including attorney fees, that Defendant incurred

because of Plaintiff’ s failure to appear at the duly noted deposition

Dated: March 12, 2003

OF COUNSEL:

KRUCHKO & FRIES

Suite 305

600 Washington Avenue
Baltimore, Maryland 21204
(410) 321»7310

Respectfully submitted,

KRUCHKO & FRIES

/s/

Kathleen A. Talty

Federal Bar No.: 022971

Counsel for Defendant
St. Agnes HealthCare, Inc

 

 

 

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLANI}
Northern Division
AUDREY WILSON *

Plaintiff, *

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MEMORANDUM IN SUPPORT
OF DEFENDANT’S MOTION FOR SANCTIONS

Defendant, St. Agnes HealthCare, by and through its undersigned counsel, files this
Mernorandurn in Suppoit of Its Motion for Sanctions in accordance with Rule 37 of the
Federal Rules of Civil Procedure. For reasons that are argued more fully below, Defendant
submits that its Motion should be granted because Plaintiff failed to appear at her duly noted
deposition

ARGUMENT

Federal Rule of Civil Procedure 37(d) allows the court to sanction parties who fail
"to appear before the officer Who is to take the deposition, after being served with proper
notice ...." These sanctions, outlined at Rule 37(b)(2)(A)~(C), become progressively more
severe, ranging from an order establishing certain facts to the entry of a default judgment
The facts in this case fully Support the imposition of sanctions, including an award of

attorney fees and costs.

 

 

 

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In late January, 2003, Defendant’s counsel wrote to Plaintiff’s counsel, proposing
five possible dates in February, 2003 for the Plaintiff’s deposition. On February 4, 2003,
Plaintiff’s counsel advised Defendant’s counsel that none of the proposed dates were
convenient and requested alternative dates for the Plaintiff"s deposition. In response to
that ietter, Defendant’s counsel wrote to Plaintiff’s counsel on that same day and presented
two dates in late February, 2003 and two dates in early March, 2003 for the Plaintiff’s
deposition. On February 10“‘, Plaintiff’s counsel advised Defendant’s counsel that March
11‘h “works best for my client and me” for the Plaintiff’s deposition. Therefore, on
February 11, 2003, Defcndalxt served Plaintiff with a Notice of Deposition, stating that the
deposition was to be held on March 11th at 10:00 a.m. in Defendant’s counsel’s law offices.

Despite the fact that Plaintiff’s deposition was duly noted and the actual date of the
deposition was the specific one identified by Plaintiff’s counsel as the one that “works best
for my client and me”, neither the Plaintiff nor her counsel appeared for the deposition at

the scheduled date and time. Moreover, at no time on March 11"' did Plaintiff or her

 

counsel make any attempt to notify Defendant’s counsel 1) that they would be delayed or 2)
that they Would be late for the deposition or 3) that the deposition Would need to be
rescheduled. Finally, at approximately 11:20 a.m., Defendant adjourned the deposition
and advised the court reporter, who had been waiting since before 10:00 a.m., that the
Plaintiff’s deposition was canceled for that day. The actions of Plaintiff in failing to appear
at her deposition are clearly sanctionable under Rule 37.

In this case, I)efendant, St. Agnes HealthCare, is not requesting the imposition of

 

 

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one of the more severe sanctions for a Rule 37 violation. Rather, the Defendant seeks an
order, directing the Plaintiff to reimburse Defendant for reasonable attorney fees and costs
incurred because of Plaintiff’s failure to appear for her duly noted deposition.
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For all of the foregoing reasons, ])efendant respectfully requests that tile Court

order the Plaintiff to pay the reasonable attorney fees and costs that Defendant has

 

incurred.

Dated: March l2, 2003 Respectfully submitted,
KRUCHKO & FRIES
By: /s/

OF COUNSEL'. Kathleen A. Talty

Federal Bar No.: 022971

K_RUCHKO & FRIES

Suite 305

600 Washington Avenue Counsel for Defendant

Baltimore, Maryland 21204
(410) 321~7310

St. Agnes HealthCare, Inc

 

 

 

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UNITED STATES DISTRICT COUR'I`
FOR THE DISTRICT OF MARYLAND

AUDREY WILSON *
Plaintiff, *
v. * Civil Action No. CCB-02CV3341

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ST. AGNES I~IEALTHCARE, INC. ET AL.
Defendants. *
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ORDER
Upon consideration of Defendant’s -LMotion for Sanctions and Plaintiff’s Opposition
thereto, it is hereby ORDERED on this day of , 2003 that Plaintiff pay
the reasonable attorney fees and costs incurred by Defendant because of Plaintiff”s failure to

appear for her deposition.

 

Catherine C. Biake
U.S. District Court Judge

